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 7
                                    UNITED STATES DISTRICT COURT
 8
                                   WESTERN DISTRICT OF WASHINGTON
                                             AT TACOMA
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10           JESUS CHAVEZ FLORES,
                                                                   CASE NO. 3:18-cv-05139-BHS-DWC
11                                      Plaintiff,
                                                                   ORDER GRANTING LEAVE TO
12                    v.                                           AMEND
13           UNITED STATES IMMIGRATION
             AND CUSTOMS ENFORCEMENT,
14           et al.,

15                                      Defendants.

16

17           The District Court has referred this 42 U.S.C. § 1983 action filed by Plaintiff Jesus

18 Chavez Flores to United States Magistrate Judge David W. Christel. Presently before the Court is

19 Plaintiff’s Motion to Amend (“Motion”), in which he seeks to amend his Amended Complaint. 1

20 Dkt. 45.

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                 Plaintiff names GEO Group, Inc. (“GEO”), Immigration and Customs Enforcement (“ICE”), and several
     of both organizations’ employees as Defendants. Dkt. 1. ICE is a federal law enforcement agency within the
23   Department of Homeland Security responsible for the criminal and civil enforcement of United States immigration
     law. Id., p. 3. GEO is a contractor under ICE, providing facilities, management, personnel, and services to house
24   detainees in ICE custody. Id., p. 4. GEO Defendants’ Amended Motion for Summary Judgment (Dkt. 26) and ICE



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 1           The Court concludes the interests of justice require giving leave to amend. Accordingly,

 2 Plaintiff’s Motion (Dkt. 45) is granted.

 3                                                  BACKGROUND

 4           Plaintiff, represented by counsel, filed his Motion on May 21, 2018. Dkt. 45. ICE

 5 Defendants do no oppose the filing of the Second Amended Complaint. Dkt. 46, p. 5. However,

 6 GEO Defendants filed a Response, arguing the filing of a Second Amended Complaint would

 7 unduly prejudice GEO Defendants and that the filing of the Second Amended Complaint is being

 8 done in bad faith. Dkt. 50. Plaintiff file a Reply, arguing there was nothing to bar this Court from

 9 liberally granting leave to amend. Dkt. 52.

10                                                   DISCUSSION

11          Pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, “a party may amend its

12 pleading only with the opposing party’s written consent or the court’s leave. The court should

13 freely give leave when justice so requires.” “Rule 15(a) is very liberal and leave to amend ‘shall

14 be freely given when justice so requires.’” AmerisourceBergen Corp. v. Dialysis West, Inc., 464

15 F.3d 946, 951 (9th Cir. 2006) (quoting Bowles v. Reade, 198 F.3d 752, 757 (9th Cir. 1999)). “In

16 determining whether leave to amend is appropriate, the district court considers ‘the presence of

17 any of four factors: bad faith, undue delay, prejudice to the opposing party, and/or futility.’”

18 Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001) (quoting Griggs v.

19
     Pace Am. Group, Inc., 170 F.3d 877, 880 (9th Cir. 1999)). Because leave to amend should be
20
     freely given, “the nonmovant bears the burden of showing why amendment should not be
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     Defendants’ Motion to Dismiss (Dkt. 38) are also pending in this action. The Court will address those Motions in a
24 separate Report and Recommendation.


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 1 granted.” Senza-Gel Corp. v. Seiffhart, 803 F.2d 661, 666 (9th Cir. 1986). Thus, all inferences

 2 must be drawn in favor of the moving party. Griggs, 170 F.3d at 880.

 3          Though ICE Defendants do not oppose the Motion, GEO Defendants do. Dkt. 50. GEO

 4 Defendants first argue the Second Amended Complaint contains patently false factual

 5 allegations. Id. However, the Court must draw all inferences in favor of the moving party.

 6 Griggs, 170 F.3d at 880. Thus a factual dispute at this stage is immaterial to determining whether

 7 to grant leave to amend.

 8          GEO Defendants argue further Plaintiff’s Second Amended Complaint will prejudice

 9 GEO Defendants because, by adding Defendant McMahon as a named Defendant, his

10 professional reputation would be tarnished by frivolous allegations, he would be subjected to

11 additional time and money to defend against the allegations, and the Second Amended

12 Complaint has no basis in good faith. Id. However, adding Defendant McMahon as a party is not

13 sufficient to show prejudice against him. See DCD Programs, Ltd. v. Leighton, 833 F.2d 183,

14 186 (9th Cir. 1987) (“[Liberally] granting leave to amend is not dependent on whether the

15 amendment will add causes of action or parties.”). “‘Prejudice’ in the context of a motion to

16 amend, means ‘undue difficulty in prosecuting a lawsuit as a result of a change of tactics or

17 theories on the part of the other party,’” and GEO Defendants have not shown how speculative

18 harm to Defendant McMahon’s reputation has inhibited him from defending himself here.

19 Wizards of the Coast LLC v. Cryptozoic Entertainment LLC, 309 F.R.D. 645, 652 (W.D. Wash.

20 2015) (quoting Deakyne v. Cmmsrs. Of Lewes, 416 F.2d 290, 300 (3d Cir. 1969)). Similarly, the

21 prospect of additional expense in defending against the allegations does not of itself establish

22 prejudice. See Nissou-Rabban v. Capital One Bank, 285 F. Supp. 3d 1136, 1145 (S.D. Cal. 2018)

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 1 (“[T]he expenditure of additional monies or time do not constitute undue prejudice.”). GEO

 2 Defendants have not shown they will be prejudiced by granting leave to amend.

 3          GEO Defendants have also not shown Plaintiff unduly delayed the proceedings by filing

 4 his Motion because the action is still at an early stage -- discovery has not even begun. It appears

 5 Plaintiff filed the Motion in good faith because he has now named Defendant McMahon, a

 6 Defendant who he could not name previously. See Dkt. 52, pp. 3-4. It also appears Plaintiff filed

 7 the motion in good faith because some of his Second Amended Complaint responds to ICE

 8 Defendants’ arguments that the Court lacks jurisdiction contained in their Motion to Dismiss. Id.,

 9 p. 4. Further, the amendment is not futile because, as amended, GEO Defendants have not

10 demonstrated there is “no set of facts” that would constitute a claim for which relief could be

11 granted. Miller v. Rykoff Sextion, Inc., 845 F.2d 209, 214 (9th Cir. 1988).

12                                           CONCLUSION

13          For the reasons stated above, the Court grants Plaintiff’s Motion. Dkt. 45. Plaintiff may

14 file his Second Amended Complaint on or before June 26, 2018.

15          Dated this 19th day of June, 2018.


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                                                         David W. Christel
18                                                       United States Magistrate Judge

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     ORDER GRANTING LEAVE TO AMEND - 4
